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January17, 2017

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l\/Iichael Wayne Parsons, a live man
9160 I-lwy 64, Suite 12, #213

Lakeland, Tennessee [38002] ._:T
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U.S. DISTRICT COURT
WESTERN DISTR_ICT OF TENNESSEE

Office OF CLERK
242 FEDERAL BUILDING
MEMPHIS, TENNESSEE 38103

Resnonse to Court Order to File Disclosure Statement

On January 08, 2017 l received notice of this order in the U.S. District Court whose
No. 2:16-cv-024l l-STA-egb it is referenced by. It requires “disclosing whether he
remains in pretrial detention in Tipton County Jail.”

I am currently being held in the Phelps County Nebraska Jail on a hold from Tipton
County Tennessee.

Whereas the order was dated the 16th of December 2016, the 28th day occurred on a
Saturday and the following Monday January 16, 2017 was a Federal I-Ioliday, therefore
today, Tuesday January 17, 2017 is the 28th and as such it is timely filed by my only way

to respond to the court which is via the Jail Fax machine.
Therefore, my need for release via the Habeas Corpus petition still exist.

Addendum

This Court will take J udicial NOTICE of the following:

In compliance with EXecutive Order 13132 (“Federalism”) signed by President Bill
Clinton on August 10, 1999 Section 2: (d) “The people of the States are free, subject only
to restrictions in the Constitution itself or in constitutionally authorized Acts of Congress,

to define the moral, political, and legal character of their lives.”
I hereby define my political and legal characters as follows:

Be it known by all, that l\/Iichael Wayne Parsons, as a living flesh and blood man that on
June 23 2016 did give NOTICE to all in the world that l am not a citizen of the UNITED
STATES, nor any corporation posing as government such as STATE OF TENNESSEE

CORPORATION. Any who wish to challenge this admission must do so by responding

 

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to that notice within 30 days of publication Notice was also given to anyone in the world
who may have a contract (or unsigned presumed contract) under the above name, that this
notice serves as an addendum to all contracts or presumptions ad initio, in which the
signatory name may (or may not) appear. Notice that the following be included as part
and above the perceived signatory which is in fact an autograph with or without the
notice “without prejudice, UCC1-207, UCC1-308 or ..., which indicates done under
threat, duress and coercion rendering it a void contract and all of my God Given rights
are reserved.”

Let it be known to all that this notice also serves to rebut any presumption that any
Federal, State, County or Municipality or any Corporation posing as government,
including but not limited to any and all STATE OF__, COUNTY OF_, CITY OF_,
COUNTRY OF_, etc, has authority (parens patriae) over any of my family or property.

Let it be known that as a flesh and blood living man I can not see or communicate with
any corporations as they are non-living fictions on paper and as such, I can only reply to
living flesh and blood men and woman.

Therefore, the matter claimed by Tipton County is over, nullified and void from it’s
inception. And as such, l wish this matter be dismissed by this court and an ORDER
from this court reflecting this fact as well as for the return of all of Mrs. Pat Parsons’
property stolen by Tipton County.

Michael Wayne Parsons, a live man
Without lc’rTjeudi , C1-207, 308.
Acaz¢l

 

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